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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 ELIZABETH NELSON and                           Case No. 23-11597
 ALBERT THROWER,
      Plaintiffs,                               Brandy R. McMillion
      v.                                        United States District Judge

 ROBERT SCOTT, et al.,                          Curtis Ivy, Jr.
      Defendants.                               United States Magistrate Judge
 ____________________________/


     REPORT AND RECOMMENDATION ON MOTION TO DISMISS (ECF
                          No. 57)


I.     PROCEDURAL HISTORY

       Plaintiffs Nelson and Thrower filed a lawsuit against City of Warren

officials and two towing companies and employees for violations of their

constitutional rights when entering their property without permission and towing

their vehicles away. The defendants associated with the City of Warren have been

dismissed. (ECF Nos. 46, 78). Defendants Able Towing, LLC, Bruce Hertz,

Edward D. Hertz, Randy Hertz, Sandra A. Hertz, Service Towing Inc., and Randy

Sullivan, the “Towing Defendants,” moved to the dismiss the amended complaint.

(ECF No. 57). This case was referred to the undersigned for all pretrial matters.

(ECF No. 44).
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      For the reasons discussed below, the undersigned recommends that the

motion to dismiss be GRANTED.

II.   AMENDED COMPLAINT ALLEGATIONS

      During a scheduling conference, the parties agreed that Plaintiffs would file

a third amended complaint stating all their claims against the Towing Defendants.

(ECF No. 53). The third amended complaint is now the operative complaint.

(ECF No. 55).

      Plaintiffs assert that an illegal search and seizure conducted on July 7 and 8,

2021, violated the Fourth, Fifth, and Fourteenth Amendments, as well as state law.

(Id. at PageID.600-01). Much of the amended complaint concerns dismissed

defendants. What is relevant to the Towing Defendants’ motion is addressed here.

      Plaintiffs assert that all Defendants were acting under color of state law in

their involvement in the constitutional violations. The “private parties” Towing

Defendants conspired “with state actors” to deprive Plaintiffs of their rights. (Id. at

PageID.601). The “private parties” Towing Defendants acted under color of state

law by acting in concert with state actors. (Id. at PageID.602). Plaintiffs assert

that private parties can be liable as state actors when their actions are “inextricably

intertwined” with the conduct of the government. (Id.). They contend that the

Towing Defendants’ actions “fit this definition for liability of private parties acting

in concert with (D) Scott.” (Id.).


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      Plaintiffs allege that on July 7, 2021, former defendant Scott learned that

Plaintiff Thrower arrived at his property at 7568 Hudson Avenue, Warren,

Michigan, to mow the lawn. Scott called a few of the Towing Defendants to meet

Scott at the property and tow vehicles. (Id. at PageID.603). Two vehicles were

towed. Plaintiff Thrower heard Scott “scream at” the Towing Defendants “I want

the Honda towed.” (Id.). One of the defendants said “I can’t tow [sic] Honda

without damaging it because it’s at an angle.” (Id.). Scott said he did not care. A

state court judge later issued an order to tow “inoperable vehicles” at the property,

but this order is allegedly void. (Id. at PageID.603-04).

      On July 8, 2021, Plaintiff Thrower went to Defendant Service Towing, Inc.,

to retrieve one of the vehicles around 8:30 am. One of the defendant towing

employees “stalled” him “per earlier agreement with (D) Scott for approximately

30 minutes pretending like (D) could not find [Thrower’s] Silverado.” (Id. at

PageID.604). While Plaintiff Thrower waited, former defendant Scott arrived and

attacked him and performed a “citizen’s arrest.” The Towing Defendants who

were present watched. (Id.).

      When Plaintiff Thrower was released from the hospital, he went back to

Service Towing to retrieve his vehicles. The Honda was damaged, but he paid for

both vehicles. (Id. at PageID.605).




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       There are two counts. “Claim Number One” asserts that former defendant

Scott and the Towing Defendants conspired to violate the Constitution when they

entered his property without a search warrant and towed two operable vehicles

belonging to Plaintiffs. “Claim Number Two” asserts that Scott acted in agreement

with the Towing Defendants to attack him and perform a “citizen’s arrest” while

the Towing Defendants watched “per agreement.” (Id.).

III.   ANALYSIS AND RECOMMENDATIONS

       A.    Governing Standards

       When deciding a motion to dismiss under Rule 12(b)(6), the Court must

“construe the complaint in the light most favorable to plaintiff and accept all

allegations as true.” Keys v. Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012). “To

survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (internal quotation omitted); see also Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007) (concluding that a plausible claim

need not contain “detailed factual allegations,” but it must contain more than

“labels and conclusions” or “a formulaic recitation of the elements of a cause of

action”). Facial plausibility is established “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility of an


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inference depends on a host of considerations, including common sense and the

strength of competing explanations for the defendant's conduct.” 16630 Southfield

Ltd., P’Ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 503 (6th Cir. 2013).

      The Court holds pro se complaints to “less stringent standards than formal

pleadings drafted by lawyers.” Haines v. Kerner, 404 U.S. 519, 520 (1972). Yet

even in pleadings drafted by pro se parties, “‘courts should not have to guess at the

nature of the claim asserted.’” Frengler v. Gen. Motors, 482 F. App’x 975, 976-77

(6th Cir. 2012) (quoting Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989)).

“[C]ourts may not rewrite a complaint to include claims that were never presented

... nor may courts construct the Plaintiff’s legal arguments for him. Neither may

the Court ‘conjure up unpled allegations[.]’” Rogers v. Detroit Police Dept., 595

F. Supp. 2d 757, 766 (E.D. Mich. 2009); see also, Evans v. Mercedes Benz Fin.

Servs., LLC, No. 11-11450, 2011 WL 2936198, at *2 (E.D. Mich. July 21, 2011)

(“Even excusing plaintiff’s failure to follow Rules 8(a)(2) and 10(b), a pro se

plaintiff must comply with basic pleading requirements, including Rule

12(b)(6).”).

      B.       Discussion

      The Towing Defendants addressed each of Plaintiffs’ substantive claims and

ended their brief arguing that they are not state actors subject to suit under 42




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U.S.C. § 1983. Because that alone is a basis for dismissal, the undersigned will

focus this report and recommendation on state action.

      “[N]umerous courts have found that when a city official uses a towing

company’s services, that fact alone does not make the towing company liable for

violating the plaintiff’s constitutional rights.” Harris v. Malone, 2022 WL 400809,

at *2 (E.D. Mich. Feb. 9, 2022) (collecting cases). “Private action . . . may . . .

count as state action under discrete circumstances[,]” Thomas v. Nationwide Child.

Hosp., 882 F.3d 608, 612 (6th Cir. 2018), as long as the private conduct “causing

the deprivation of a federal right may be fairly attributable to the state,” Revis v.

Meldrum, 489 F.3d 273, 289 (6th Cir. 2007). The Sixth Circuit uses “three tests to

resolve the state-actor inquiry: the public-function test, the state-compulsion test,

and the nexus test.” Carl v. Muskegon Cnty., 763 F.3d 592, 595 (6th Cir. 2014).

      Liability arises under the public function test if the private individual or

entity “exercises powers which are traditionally exclusively reserved to the state.”

Carl v. Muskegon Cnty., 763 F.3d 592, 595 (6th Cir. 2014). The Sixth Circuit

interprets this test “narrowly,” such that “[o]nly functions like holding elections,

exercising eminent domain, and operating a company-owned town fall under this

category of state action.” Chapman v. Higbee Co., 319 F.3d 825, 833–34 (6th Cir.

2003) (internal citations omitted). Liability attaches under the compulsion test if

the entity or individual “exercised coercive power or . . . provided such significant


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encouragement, either overt or covert, that the choice” to tow the vehicles “must in

law be deemed to be that of the government.” United States v. Miller, 982 F.3d

412, 423 (6th Cir. 2020).

      Plaintiffs’ allegations do not suggest public function or compulsion. Towing

vehicles is not a function typically reserved for the government—the company

merely handled the logistics of transporting the vehicles for the Warren officials.

The compulsion test is also unmet. Merely working for the government is

insufficient. See Partin v. Davis, 675 F. App’s 575, 586-87 (6th Cir. 2017) (“A

plaintiff must show more than joint activity with the state to prove that a private

party working for the government is a state actor. In particular, she must

demonstrate “pervasive entwinement” between the two entities surpassing that of a

mere contractual relationship.”); Robertson v. Breakthrough Towing, LLC, 2022

WL 4292314, at *7 (E.D. Mich. Sept. 16, 2022) (“case law in this circuit indicates

that towing companies are generally not state actors under the nexus and state

compulsion theories—both at the summary judgment stage and on the face of the

pleadings—even when those companies tow vehicles pursuant to government

contracts or at the express request of the police.”) (emphasis in original and

footnotes omitted).

      “Under the symbiotic or nexus test, a section 1983 claimant must

demonstrate that there is a sufficiently close nexus between the government and


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the private party’s conduct so that the conduct may be fairly attributed to the state

itself.” Chapman v. Higbee Co., 319 F.3d 825, 834 (6th Cir. 2003). A conspiracy

could satisfy the nexus test, see Miller, 982 F.3d at 425, but Plaintiffs’ allegations

that the Towing Defendants conspired with Scott are conclusory. To successfully

plead a § 1983 conspiracy, a plaintiff must allege facts sufficient to state a claim

that (i) a single plan existed, (ii) the conspirators shared a conspiratorial objective

to deprive the plaintiff of his or her constitutional rights, and (iii) an overt act was

committed in furtherance of the conspiracy that caused the injury. Hooks v. Hooks,

771 F.2d 935, 943-944 (6th Cir. 1985). “It is well-settled that conspiracy claims

must be pled with some degree of specificity and that vague and conclusory

allegations unsupported by material facts will not be sufficient to state such a claim

under § 1983.” Gutierrez v. Lynch, 826 F.2d 1534, 1538 (6th Cir. 1987). This

pleading standard is “relatively strict.” Fieger v. Cox, 524 F.3d 770, 776 (6th Cir.

2008). Plaintiffs do no more than allege that Scott and the Towing Defendants

conspired together to tow the vehicles and for the Towing Defendants to falsely

hold Thrower at the facility until Scott arrived to assault and arrest him.

The Court cannot accept conclusory allegations as established fact. Iqbal, 556

U.S. at 679 (“[A] court considering a motion to dismiss can choose to begin by

identifying pleadings that, because they are no more than conclusions, are not




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entitled to the assumption of truth. While legal conclusions can provide the

framework of a complaint, they must be supported by factual allegations.”).

      Plaintiffs cite Memphis, Tenn. Area Local, Am. Postal Workers Union, ALF-

CIO v. City of Memphis, 361 F.3d 989, 905 (6th Cir. 2004), in support of their

claims against the Towing Defendants. But in that case, “all of the elements of

conspiracy [were] sufficiently alleged.” Id. The allegations here are not

sufficiently alleged. So the nexus test is also unsatisfied.

      Both Plaintiffs and Defendants point to Nugent v Spectrum Juv. Just Servs,

72 F4th 135, 139-140 (6th Cir. 2023), as providing an “entwinement test.” (See

ECF No. 57, PageID,637; ECF No. 67, PageID.725). Nugent does not mention

such a test. “Entwinement” is a consideration for the nexus test, which Plaintiffs

have not satisfied.

      Because Plaintiffs have not adequately alleged that the Towing Defendants

and Warren Defendants were “pervasive[ly] entwin[ed]” with each other such that

the towing company’s relationship with Warren surpassed that of a mere

contractual relationship and made it a state actor. Plummer v. Detroit Police

Dep’t, 2017 WL 1091260, at *4 (E.D. Mich. Mar. 23, 2017) (“Even if the police

directed the company to tow Plaintiff’s vehicle to the company’s storage facility,

the company’s involvement falls short of demonstrating the kind of close nexus




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with government officials that is necessary to expose it to § 1983 liability.”). Thus,

the constitutional claims against the Towing Defendants should be dismissed.

      Given the recommendation to dismiss all the federal claims for lack of state

action, the undersigned further recommends that the Court decline to accept

supplemental jurisdiction over the state-law claims and instead dismiss those

without prejudice. Sharwell v. Selva, 4 F. App’x 226, 227 (6th Cir. 2001) (“Where

a district court has jurisdiction over a state law claim solely by virtue of

supplemental jurisdiction and the federal claims are dismissed prior to trial, the

state law claims should be dismissed without reaching their merits.”).

IV.   RECOMMENDATION

      For the reasons set forth above, the undersigned RECOMMENDS that the

motion to dismiss (ECF No. 57) be GRANTED.

      The parties here may object to and seek review of this Report and

Recommendation, but are required to file any objections within 14 days of service,

as provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule

72.1(d). Failure to file specific objections constitutes a waiver of any further right

of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health and

Human Servs., 932 F.2d 505 (6th Cir. 1981). Filing objections that raise some

issues but fail to raise others with specificity will not preserve all the objections a

party might have to this Report and Recommendation. Willis v. Sec’y of Health


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and Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

Teachers Loc. 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to Local Rule

72.1(d)(2), any objections must be served on this Magistrate Judge.

      Any objections must be labeled as “Objection No. 1,” “Objection No. 2,”

etc. Any objection must recite precisely the provision of this Report and

Recommendation to which it pertains. Not later than 14 days after service of an

objection, the opposing party may file a concise response proportionate to the

objections in length and complexity. Fed. R. Civ. P. 72(b)(2), Local Rule 72.1(d).

The response must specifically address each issue raised in the objections, in the

same order, and labeled as “Response to Objection No. 1,” “Response to Objection

No. 2,” etc. If the Court determines that any objections lack merit, it may rule

without awaiting the response.

       Date: September 30, 2024.                  s/Curtis Ivy, Jr.
                                                  Curtis Ivy, Jr.
                                                  United States Magistrate Judge


                         CERTIFICATE OF SERVICE

      The undersigned certifies that this document was served on counsel of
record and any unrepresented parties via the Court’s ECF System or by First Class
U.S. mail on September 30, 2024.




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                                             s/Sara Krause
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